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                                               UNITED STATES DEPARTMENT DF COMMERCE
                                               National Oceanic and Atmaspheric Administration
                                               NATIONAL MARINE FISHERIES SERVICE




                                                                              JUN 1 3 2019
MEMORANDUM FOR:              Chris Oliver
                             Assistant Administrator for Fisheries

FROM:                        Alexa Cole
                             Acting Director, Office of International Affairs and Seafood
                             Inspection

SUBJECT:                     Rejection of a petition for emergency rulemaking under the
                             Administrative Procedure Act- DECISION MEMORANDUM


The National Marine Fisheries Service (NMFS) Office of International Affairs and Seafood
Inspection (IASI) seeks your concurrence with its recommendation to reject a petition for
emergency rulemaking under the Administrative Procedure Act ("APA"). Sea Shepherd Legal,
Sea Shepherd New Zealand Ltd., and Sea Shepherd Conservation Society petitioned the U.S.
Department of Commerce and other relevant Departments to initiate emergency rulemaking
under the Marine Mammal Protection Act ("MMPA"), to ban importation of commercial fish or
products from fish that have been caught with commercial fishing technology that results in
incidental mortality or serious injury of Maui dolphin (Cephalorhynchus hectori Miiui) in excess
of United States standards.

   I.      BACKGROUND

   A. MMPA Import Provisions

The MMPA contains provisions to address the incidental mortality and serious injury of marine
mammals in both domestic and foreign commercial fisheries. With respect to foreign fisheries,
section 10l(a)(2) of the MMPA states that the Secretary of the Treasury shall ban the importation
of commercial fish or products from fish which have been caught with commercial fishing
technology which results in the incidental kill or incidental serious injury of ocean mammals in
excess of United States standards. For purposes of applying the preceding sentence, the Secretary
of Commerce shall insist on reasonable proof from the government of any nation from which fish
or fish products will be exported to the United States of the effects on ocean mammals of the
commercial fishing technology in use for such fish or fish products exported from such nation to
the United States. (16 U.S.C. 137l(a)(2)).




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In 2016, NMFS published a final rule establishing conditions for evaluating a harvesting nation's
regulatory program to address incidental and intentional mortality and serious injury of marine
mammals in fisheries that export fish and fish products to the United States. Under this rule, fish
and fish products from fisheries identified by the Assistant Administrator in the List of Foreign
Fisheries can only be imported into the United States if the harvesting nation has applied for and
received a comparability finding from NMFS. The rule establishes procedures that a harvesting
nation must follow, and conditions to meet, to receive a comparability finding for a fishery . The
rule includes a five-year exemption period, which ends January 1, 2022, to allow nations time to
develop their regulatory programs.

   B. Provisions for Emergency Rulemaking under the MMPA Import Rule

During the five-year exemption period, NMFS may consider emergency rulemaking to ban
imports of fish and fish products from an export or exempt fishery having or likely to have an
immediate and significant adverse impact on a marine mammal stock. The U.S. regulatory
program at section l 18(g) of the MMPA (16 U.S .C. 1387(g)) contains provisions for emergency
rulemaking for U.S. domestic fisheries that are having or likely to have an immediate and
significant adverse impact on a marine mammal stock. NMFS stated it would likewise consider
an emergency rulemaking for an export or exempt fishery having or likely to have an immediate
and significant adverse impact on a marine mammal stock interacting with that fishery. In the
rule, NMFS stated that before it initiates an emergency rulemaking it would consult with the
nation with the relevant fishery and urge it to take measures to reduce the incidental mortality and
serious injury, and effectively mitigate such immediate and significant adverse impact on the
marine mammal stock(s). If the harvesting nation fails to take such measures, NMFS would
consider prohibiting the imports of fish and fish products from the relevant export or exempt
fishery through notice and comment rulemaking. The petitioners assert that emergency
rulemaking without prior notice and an opportunity for public comment as authorized under the
APA is warranted in this situation and that NMFS should move to an interim final rule that also
waives the normal 30-day delayed effectiveness period.

   C. The Petition

On February 6, 2019, Sea Shepherd Legal, Sea Shepherd New Zealand Ltd., and Sea Shepherd
Conservation Society petitioned the Secretaries of Homeland Security, the Treasury, and
Commerce under section 101(a)(2) of the MMPA, 16 U.S.C. § 137l(a)(2), to "ban the
importation of commercial fish or products from fish" sourced using fishing activities that "result
in the incidental kill or incidental serious injury" of Maui dolphin "in excess of United States
standards." Further, the petitioners requested that emergency rulemaking banning such imports is
necessary to avoid immediate, ongoing, and "unacceptable risks" to Maui dolphin and requested a
substantive response within 60 days (April 7). IASI provided a status update to the petitioners on
April 8, 2019.




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On February 25, 2019, a "Notice of Receipt" and request for comments on the petition was
published in the Federal Register. The comment period on the petition closed on March 27, 2019,
NMFS received comment letters and petitions from private citizens primarily through
environmental NGOs supporting the petition. Specifically, the majority of commenters expressed
their support for the petition and the application of trade restrictions. NMFS received more than
88,678 petitioners on the Care2 comments, most with minimal substantive comment. Forty-three
public comments generally supported the petition. In addition, we received substantive comments
from the Marine Mammal Commission, industry (2), marine mammal scientists (1) and
environmental NGOs (3) for a total of 88,726 comments/petitioners. Those opposed to action on
the petition included the New Zealand fishing industry and the U.S.-based National Fisheries
Institute.

   D. Maui Dolphin and New Zealand Fisheries

The Maui dolphin is endemic to the west coast of New Zealand's North Island. Its population is
small, estimated at around 63 animals (95% Cl= 57-75, Baker et al. 2016, Roberts et al. 2019).
Compared to the previous estimate for 2010-2011, which was 68 dolphins (95% CI ,:; 34-293,
n:;:;39), this most recent estimate is lower and has a smaller confidence interval (indicating
increased precision) (Hamner et al. 2014b, Baker et al. 2016). The estimated annual rate of
change suggests a population decline of 3% per year; however, the large confidence interval
precludes a firm conclusion. Baker et al. (2016) estimated that the Maui dolphin population has
declined by approximately 1.5% -1.9% per year from 2001 to 2016. Again, however, the 95% CI
was too large to confirm a population decline (i.e., the upper confidence limit ranges up to a 3%
increase per year, Baker et al.2016). As noted by Baker et al. (2016) though, the power to detect
such a trend is low given the small population size of Maui dolphins and the low intrinsic growth
rate. Nevertheless, it has been estimated that the Maui dolphin population has declined
substantially from historic levels due primarily to accidental bycatch in commercial and
recreational set gillnets (also referred to as set nets) and trawls but historic population sizes and
trends are highly uncertain. Fisheries using this type of gear within the Maui dolphin range
include those targeting snapper, flatfish, groundfish, and other finfish.

The petition cites previous population estimates of 55 individuals in 2011 and 57 individuals in a
2018 International Whaling Commission Committee report. IASI used the most recent Maui
population estimates noted above to calculate the Potential Biological Removal (PBR), which is
discussed in more detail in the following section.

   II.     CONSULTATIONS AND PRELIMINARY COMPARABILITY FINDING
           DETERMINATIONS

   A. Consultation

IASI staff have held consultations with representatives from the New Zealand Ministry for
Primary Industry (MPI). During those consultations, we reviewed the current bycatch mitigation
measures, the 2019 Maui dolphin risk assessment, and the proposed 2019 Threat Management
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Plan. We identified areas where New Zealand has not mitigated bycatch risk to Maui dolphin,
such as fishing interactions offshore of the current closures and situations where regulations have
displaced fishing effort into Maui dolphin habitat. We also noted the difference in New Zealand's
calculation of a bycatch limit, referred to as Population Sustainability Threshold (PST) versus
NMFS' calculation of PBR. These differences are centered around the use of a recovery factor in
the PBR equation, which becomes more conservative depending on the status of the species (ESA
listed vs. non-ESA listed), and an analogous tuning factor in the PST equation that depends on
the defined population recovery target (which, in New Zealand, is a policy decision). In light of
uncertainties in the offshore distribution of Maui dolphin, which makes it possible that there is
substantially more overlap with commercial fishing effort than indicated in New Zealand's
assessment, it is unclear whether existing mitigation measures (time/area closures for commercial
fishing) are adequate to reduce bycatch of Maui dolphin to a level substantially below PBR.
Therefore, IASI staff provided recommendations for bycatch mitigation to further reduce the risk
of Maui dolphin bycatch in New Zealand commercial fisheries. Many of these recommendations
are reflected in MPI' s mitigation options and updated 2019 Threat Management Plan (TMP).
New Zealand's final decisions on the 2019 TMP and implementation of its regulatory actions
governing Maui dolphin bycatch are expected by the end of 2019.

    B. Scientffic Review

Scientists from the Southwest Fisheries Science Center calculated the PBR for Maui dolphin at
0.11. This would allow a maximum 1 death every 8 years. New Zealand calculates the Population
Sustainability Threshold (PST) as their PBR equivalent. 1 The PST = 0.28 if the population
objective for Maui dolphins is recovery to 90% of its carrying capacity; alternately the PST=
0.14 if the population objective for Maui dolphins is recovery to 95% of its carrying capacity.
The actual population objective is a decision for New Zealand ministers following public
consultation. In any event, at this level, the difference between PBR and PST is negligible and
both PBR and PST are essentially zero.

The information in the petition does not include the most recent bycatch estimates for commercial
set net and trawl fisheries contained in the 2019 Maui dolphin risk assessment. In 2012, a panel of
experts at a workshop convened by New Zealand estimated that fishing activities were
responsible for 4.97 Maui dolphin deaths per year, with 2.33 Maui dolphin mortalities per year
from commercial set gillnets, 1.13 mortalities per year from commercial trawls, and 0.88
mortalities per year from recreational/customary set gillnet fisheries. Since these estimates, New
Zealand has implemented a series of fishery exclusion zones to mitigate bycatch. To evaluate the
effectiveness of these exclusion zones, New Zealand undertook a risk assessment. The risk
assessment estimates bycatch risk using the overlap between the distribution of Maui dolphins
and fisheries. The Maui dolphin distribution is estimated using a habitat preference model based

  The PST differs in using mean populations estimate (N) rather than Nmin and ✓ as a general policy parameter
1

instead of a recovery factor (Fr)- The choice for the policy parameter is left to managers but in the risk assessment
New Zealand uses 0.2 for cl>. The greatest differences between the PST and the PBR calculation come from different
values for Rrnax and the level of protection conferred by Fr (or <I>).

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on aerial survey observations of the distribution of Hector's dolphins (of which Maui dolphins are
a subspecies). The risk assessment does not employ any empirical data on distribution of Maui
dolphins (except within harbors, where estimates based on habitat preference were unavailable),
but a comparable spatial model based on Maui dolphin public sightings was used for independent
validation. Based on this 2019 risk assessment, New Zealand now estimates the current (i.e.,
based on the average of the past 3 years) fisheries deaths at:
    • Mean annual set nets deaths = 0.095 (i.e., slightly less than I dolphin per 10 years)
    • Mean trawl deaths = 0.018 (i.e., slightly less than 2 dolphins per 100 years)

The annual mortality estimate of 0.1 for set net and trawl fisheries, combined is very close to the
PBR of 0.11 and is under the PST of 0.28 (or 0.14 depending on the corresponding policy
decision). New Zealand has estimated that toxoplasmosis is the primary human-caused threat that
is driving total mortality of in excess of PBR and PST. It is not clear how deaths from
recreational fishing gear are included in the estimate for Maui dolphin deaths. There is no
estimate for vulnerability from recreational gillnetting. Deaths in illegal fisheries operations
(presumably mostly or entirely recreational) are not accounted for, even though such fishing is
known to occur. These factors would both contribute a negative bias to the deaths and therefore
would result in an overly optimistic risk estimate when compared to PBR and PST (i.e., lower
estimate of mean annual deaths than actually occurring). IASI and scientists from the NMFS
Southwest Fisheries Science Center find that New Zealand's current regulatory regime does not
mitigate all known and possible bycatch risk to levels below the PBR. The cumulative annual
deaths resulting from recreational fisheries (both legal and illegal) plus potentially
underestimating risks from trawling are very likely to result in exceeding the PBR of 0.11.
Currently, New Zealand is proposing additional risk reduction options to mitigate the remaining
uncertainty and risk. New Zealand's 2019 TMP (which is equivalent to a take reduction plan and
environmental assessment) includes four options, any of which will likely further reduce bycatch
well below PBR and PST.

   C. New Zealand Fisheries and Economic Impact

The petitioners identified 11 fish species harvested within the Maui dolphin range by set nets,
trawls, or gillnets that are potentially imported into the United States as fish or fish products.
These 11 species equate to 16 fisheries currently listed on the MMPA Import Provisions List of
Foreign Fisheries for New Zealand. However, not all of these species are recorded as being
imported into the United States. Current trade data shows imports from New Zealand of snapper,
flounder, cod, hake, groundfish nspf, and marine fish nspf. The total annual value of these
imports is US$13,835,868.00 (based on Jan-Nov 2018 data). The proportion (if any) of these
imported fish or fish products that originates from fisheries operating in the Maui dolphin range
is unknown. Likewise, the proportion of imports originating from the North Island verses the
South Island fisheries is also unknown.




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                  III.              THE GOVERNMENT OF NEW ZEALAND'S REGULATORY ACTIONS AND
                                    MITIGATION PLAN

                 A. Existing Regulatory Regime
                                                                        N
                                                                       A      New Zealand's existing regulations governing
                                                                              set nets and trawls are as follows (see map):
                                                                              • Commercial and recreational set netting is
                                                                              banned out to 7 nautical miles from Maunganui
                                                                              Bluff to Waiwhakaiho River.
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                                                                              • Commercial set netting is banned out to 2

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                                                                              nautical miles from Waiwhakaiho River to
                                                                            , Hawera, and only permitted with an observer


    --                                                                        out to 7 nautical miles in that area.
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                                                                              • Trawling is banned out to 2 nautical miles
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    Nl'MNI-._..~• .....,.,                                                    Point (and 4 nautical miles between Manukau
                                                                              Harbour and Port Waikato) with increased
                                                                              observer coverage (100% target) out to 7
                                                                              nautical miles in this area.
                                                                              • Drift netting is banned in the Waikato River.



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                                                                                                  Because the set net and trawl fisheries have
                                                                                                  these various offshore fishing restrictions, the
                                                                                                  characterization of the offshore distribution of
                                                                               r -:::: Maui dolphins becomes an important element
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                                                 _..,..                           :,___...·~'--', of characterizing their risk of interacting with
                                                                                                  these fisheries. If the Maui dolphin has a
           distribution that ranges farther offshore than what is estimated in the 2019 risk assessment's
           habitat model, they may have more exposure to bycatch in the set net fishery than calculated here,
           so the estimate could be higher than the value of0.l as calculated in the 2019 risk assessment. In
           contrast, the 2019 risk assessment estimates fewer deaths in trawl fisheries despite higher total
           fishing effort and higher spatial overlap with dolphins, because the risk assessment estimates that
           dolphin catchability in trawls is much lower than dolphin catchability in set nets.

                 B. Proposed Regulato,y Regime

        New Zealand's TMP contains four options for bycatch mitigation and protection by gear type
        (Table 1 and maps). These bycatch mitigation options. with the exception of the status quo,
        would implement greater bycatch mitigation and extend protection over a larger portion of the
        Maui dolphin's range. Option 2 offers greater protection than the status quo but does not extend
        the trawl closure sufficiently offshore to include the full dolphin core habitat. Option 3 most


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closely matches IASI recommendations, extending set net and trawl closures out to 10 nautical
miles in Maui dolphin core habitat. Option 4 extends protections over the largest portion of Maui
dolphin habitat.

Additionally, New Zealand is proposing a trigger mechanism where set net and trawl fishing
would be halted throughout the range of Maui dolphin if a fisheries capture occurs. Effective
November l, 2019, New Zealand is also requiring video monitoring of its set net and trawl
fishing vessels operating in Maui dolphin habitat (https://www.beehive.govt.nz/release/cameras-
vessels-ensure-sustainable-fisheries). The evidence presented in terms of abundance estimates
and risk assessments supports the adequacy of existing protection measures. Therefore, NMFS
believes the existing regulatory regime together with the proposed enhancements is sufficient to
maintain Maui dolphin bycatch below PBR and PST.




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         Table 1: West coast North Island (Maui dolphin) proposed                                             Prooosed area where fishing method would be prohibited
         method restrictions by fishing type                                                 Set net (commercial and recreational)                             Trawl
         Location                                                                 Option 1        Option 2       Option 3    Optlon4     Option 1           OpUon 2         Option 3               Option 4
                                                                                  (status                                                jstatus quo)
                                                                                  quo)
         Coast between Cape Reinga and         0-2 nautical miles offshore        .               ✓              ✓           ✓           Closure lo 1       No change       ✓                      ✓    -         -
         Maunganui Bluff                                                                                                                 nautical mile
         (potential habitat)
                                               2-4 nautical miles offshore        .               ✓              ✓           ✓                              .               .                      .

         Coast between Maunganui Bluff and     0-4 nautical miles offshore        ✓               ✓              ✓           ✓           Closure varies         ✓           ✓                      ✓
         New Plymouth                                                                                                                    between 2 and
         (core area of distribution)                                                                                                     4 nautical miles
                                               4-7 nautical miles offshore        ✓               ✓              ✓           ✓                              .               ✓                      ✓
                                               7 10 nautical miles offshore
                                                4                                                 ✓              ✓           ✓                                              ✓                      ✓
                                               10-12 nautical miles offshore                     .               ✓           ✓                                              .                      ✓
                                               12 nautical miles - 100-metre                     .               .           ✓                              4               .                      ✓          -
                                               depth
         Harbours                              Partial extension (refer to map)                                  ✓           ✓           ✓                  ✓               ✓                  •✓
         (Potential habitat - low number of    Remaining harbours                                .               .           ✓           ✓                  ✓               ✓                  > ✓

         siahtinasl                                                                                                                                 .                   ~   ~ n            -   I


         Coast between New Plymouth and        0.2 nautical miles offshore                        ✓              ✓           ✓                              .               ✓                      ✓              -.
         CapeEgmont                            2-4 nautical miles offshore        Mandatory      ✓               ✓           ✓                              .               ✓                      ✓              -
         (southern tail ofdistribution - low                                      observer                                                                                             -
         number of sightings)                  4-7 nautical miles offshore        Mandatory      ✓               ✓           ✓                              .               .
                                                                                  observer
         Coast between Cape Egmont and         0-2 nautical miles offshore                       ✓               ✓           ✓                              .               ✓.                     ✓
         Hawera                                2-4 nautical miles offshore        Mandatory      ✓               ✓           ✓                              .               ✓                      ✓              -
         (Hector's moving north may transit                                       observer                                                                                                                        .
         through this area)                    4-7 nautical miles offshore        Mandatory      ✓               ✓           ✓                              .               -                      -
                                                                                  observer
         Coast between Hawera and              0-2 nautical miles                                                ✓           ✓                              .               ✓
                                                                                                                                                                                 .
                                                                                                                                                                                                   ✓    - - 7
         Wellington                            2-4 nautical miles offshore                                       ✓           ✓                              -               .                      .
         footential habitat)
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Proposals for restricting commercial and recreational set netting under the Fisheries
Act - west coast North Island




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Figure 2: Map showing proposed boundaries of commercial and set net closures




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Proposals for restricting trawling under the Fisheries Act - west coast North Island




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Figure 3: Map showing proposed boundaries of trawl closures




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    IV. REQUIREMENTS AND CONSIDERATIONS FOR THE DETERMINATION.

   A. NMFS Determination

IASI reviewed the petition, supporting documents, previous risk assessments, threat
management plans and New Zealand's 2019 risk assessment and TMP. IASI recommends
rejecting the petition because the Government of New Zealand is implementing a regulatory
program comparable in effectiveness to the United States. The basis for this statement is as
follows:
    1. New Zealand has in place an existing regulatory program to reduce Maui dolphin
        bycatch.
    2. Through its 2019 risk assessment, New Zealand evaluated the effectiveness of this
        regulatory program in meeting bycatch reduction targets (PST).
    3. Based on the 2019 assessment, uncertainties within the model, and unaccounted risk,
        New Zealand is now proposing additional regulatory measures which, when fully
        implemented, will likely further reduce risk and Maui dolphin bycatch below PBR.

New Zealand has undertaken the same process as NMFS does through its take reduction
process. NMFS implements a regulatory plan, evaluates whether the plan reduced bycatch
below PBR, and revises the plan if it is determined that bycatch has not been reduced below
PBR.

Since 2012, the Government ofNew Zealand has had in place measures restricting set nets
and trawls in certain areas of Maui dolphin habitat, and required increased observer coverage
and other monitoring mechanisms. From 1995/96 to now, there have been no observed
captures of Maui dolphins in set net or trawl fisheries (Roberts et al.2019).

According to the risk assessment, for Maui dolphins on the West Coast of the North Island
(WCNI), the estimated annual deaths from commercial set nets was 0. 1 individuals per year,
(95% CI = 0.0-0.3) and for the inshore trawl fishery was 0.0 individuals per year (95% CI =
0.0- 0. 1). Therefore, estimated bycatch in set and trawl fisheries 'is approximately equivalent
to the PBR level of 0. 11 for Maui dolphins, assuming the distribution of Maui dolphins can be
accurately approximated by applying Hector's dolphin preference habitat model. The
estimated bycatch is also less than New Zealand's PST (their PBR equivalent) of 0.28
(assuming a calibration coefficient (<I>) value of 0.2, corresponding to a population recovery
target at 90% of carrying capacity). Therefore, the best estimate of annual mortalities for
assessed commercial fisheries did not exceed the annual PST between 2014/15 and 2016/17,
indicating that the recent mortality levels for these fisheries would not individually or
collectively depress the equilibrium population below 90% of carrying capacity in the long
term. For Maui dolphins, the estimated annual deaths, fishing effort, and risk ratios have
declined through time since 1992/93, reflecting the effects of prior spatial closures.

New Zealand's 2019 spatial risk assessment of threats to Maui dolphin informs the revised
Threat Management Plan (TMP) for this subspecies (Roberts et al. 2019). According to the
2019 assessment, bycatch of Maui dolphins in commercial fishing operations is currently at or
below PBR and PST. However, because the population of Maui dolphins is very small, New
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Zealand is committed to reducing the risk of all human-induced deaths to as close as possible
to zero to provide the best chance of preventing further population decline and allow the
population to increase as rapidly as possible (TMP 2019). Based on the mortality estimates in
the risk assessment, New Zealand is proposing to implement additional mitigation measures
with the proposed outcome of reducing the current level of fisheries risk by at least 50
percent. New Zealand's TMP proposes a range of bycatch mitigation measures to
complement measures already in place and reduce the residual risk from both set netting and
trawling. An additional mitigation measure, in addition to the mitigation options proposed in
the 2019 TMP, is the inclusion of a trigger mechanism where set net and trawl fishing would
be halted throughout the range of the Maui dolphins if a fisheries capture occurred. A further
option, in combination with those proposed in the 2019 TMP, is implementation of a trigger
mechanism where set net and trawl fishing would be halted throughout the range of the Maui
dolphins if a fisheries capture occurred. Most of the options contained in New Zealand's TMP
(the equivalent to a Take Reduction Plan), once implemented, would further reduce the risk of
Maui dolphin bycatch. With the exception of the status quo option, all options within the
TMP, once implemented, will likely further reduce Maui dolphin bycatch to well below PBR
and PST.

Therefore, based on the current regulatory regime and assuming the implementation of
additional measures outlined in the TMP, NMFS does not believe that import restrictions
under the MMPA Import Provisions are warranted at this time and is rejecting the petition. As
part of its implementation of the MMPA Import Provisions, NMFS will continue to monitor
New Zealand's implementation of its regulatory regime governing set net and trawl fisheries
with the potential to interact with Maui dolphin to ensure that the regulatory regime is
comparable in effectiveness to the U.S. regulatory regime.

CERTIFICATION
I certify that the action to reject the petition is consistent with the Marine Mammal Protection
Act, the Administrative Procedure Act and other applicable laws.




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RECOMMENDATION

Based on the information included in this memo, I recommend that you reject the petition for
emergency rulemaking under the Administrative Procedures Act petitioning the U.S.
Department of Commerce and other relevant Departments to initiate emergency rulemaking
under the Marine Mammal Protection Act ("MMPA"), to ban importation of commercial fish
or products from fish that have been caught with commercial fishing technology that results in
incidental mortality or serious injury of Maui dolphin (Cephalorhynchus hectori Miiui) in
excess of United States standards.


!concur .           ~
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I do not
concur
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                                 Date




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